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UNITED sTATEs msch coURT ng,?,.f t /*f /_. 5/
FoR THE MtDDLE DISTRICT oF FLoRrDA 391 s bg$,gfs;,;;,.c ,, A
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THE UNITED STATES OF AMERICA
And THE STATE OF FLORIDA,
ex rel, DOUGLAS MALIE,

Plaintiffs,

v. Case No. 3:16-cv-1054-J-34MCR
FILED UNDER SEAL

FIRST COAST CARDIOVASCULAR
INSTITUTE, P .A . ,

Defendant.
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UNITED STATES’ NOTICE OF ELECTION TO INTERVENE FOR
PURPOSES OF SETTLEN[ENT

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(2) and (4), the United
States notifies the Court of its intention to intervene for the purposes of settlement
pursuant to 31 U.S.C. § 3730(c), as set forth herein.

1. Relator filed this qui tam Complaint under the False Claims Act, 31
U.S.C. §§ 3729 - 3733, on or about August 10, 2016, and completed service of the
same on the United States on September 6, 2016.

2. The United States has sought several extensions of the investigative
period to conduct its investigation and make a determination as to intervening in this
matter.

3. The United States has reached an amicable resolution of this matter

with First Coast Cardiovascular Institute. The parties are in the process of preparing

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and linalizing the pertinent settlement agreements. The United States contemplates
that once the settlement agreements are finalized, the United States and the Relator
will file, pursuant to Fed. R. Civ. P. 4l(a)(1), a joint stipulation of dismissal of the qui
tam complaint with prejudice

With the exception of any applications filed by the United States for an
extension of the seal for purposes of investigation and legal memoranda in support
thereof, the United States requests that all other filed contents of the Court’s file in

this matter be unsealed, be made public, and served upon the defendant

Dated: September 27, 2017 Respectfully submitted,

W. STEPHEN MULDROW

Actin§ Zi;ed States Attomey

SHEA MATTHEW GIBBONS
Assistant United States Attomey
USA No. 0000172

United States Courthouse

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CER'I‘IFICATE OF SERVICE
I I-IEREBY CERTIFY that on September 27, 2017, the foregoing United

States’ Notice of Election to Intervene for Purposes of Settlement was served by

United States mail, first class postage prepaid, upon the following counsel of record:

Roland Riggs
One Pennsylvania Plaza
New York, New York 10119-0165

Kevin J. Darken
201 E. Kennedy Blvd., Suite 1950
Tampa, Florida 33602

Bruce D. Lamb
401 East Jackson Street, Suite 250
Tampa, FL 33602 ~

s'H`EA MATTHEW GIBBONS
Assistant United States Attomey

